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MICHAEL W. DeReing
GLEHR, U-8. BIGTRIGT BQUNTIN THE UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

PLAINTIFF, GO 6 C 1 042

} JUDGE GRADY

REYNALDO GUEVARA, and the CITY OF CHICAGO, }
DEFENDANTS. MAGIBTRATE JUDGE MASON

JUAN JOHNSON,

V8.

 

COMPLAINT

Plaintiff, Juan Johnson, by his attorneys, Gardiner, Koch and Weisberg, and
Daniel J. Stohr, complains against defendants, Reynaldo Guevara, and the City of

Chicago, as follows,
Introduction

l. This action is brought pursuant to 42 U.S.C. Section 1983 to redress the
deprivation under color of law of plaintiffs rights as secured by the United States

Constitution.

2. Specifically, as a result of the egregious police misconduct and abuse more
fully described below, Plaintiff Juan Johnson was wrongfully convicted of a murder that
he did not commit and sentenced to prison for 30 years. In all, plaintiff spent
approximately 12 years in prison, after defendants secured plaintiff's conviction by

unlawful means of violation of plaintiff's constitutional rights.

3. After asserting his innocence for many years without success, the Jllinois
appellate court finally reversed and remanded defendant's conviction. Upon retrial a jury
acquitted plaintiff of all charges. Plaintiff was able to prove facts establishing both his
innocence and the reprehensible pattern of police abuse and misconduct that gave rise to

plaintiff's wrongful conviction.

 
 

 

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Jurisdiction and Venue
4. This court has jurisdiction of the action pursuant to 28 U.8.C. § 1331.

5, Venue is proper under 28 U.S.C. § 1391(b). All parties reside in this judicial
district, and the events giving rise to the claims asserted herem occurred within this

district. Pendent jurisdiction is invoked pursuant to 28 U.5.C. 1367(a).
The Parties

6. Plaintiff, Juan Johnson, was at all relevant times a citizen of the United States

and a resident of Chicago, Cook County, Ilinois.

7. Defendant, Reynaldo Guevara, was a gang crimes specialist and then a

detective in the Chicago Police Department.

8. Defendant City of Chicago is an [llincis Municipal Corporation, and was and
is the employer of Defendant Guevara. The City of Chicago is responsible for the acts of
defendant officer while employed by the City of Chicago and while acting within the

scope of his employment.
Background

9. On September 9, 1989, approximately 200 to 250 people attended a birthday
party at a Chicago night club, the Caguas Club, on west North Avenue in Chicago.
Members of several different gangs attended the party, including Latin Eagles, Spanish
Cobras and others. The party started at about 8:30 or 9:00 p.m.

10, Around 11:00 or 11:30 p.m., a fight inside the nightclub spilled onto North
Avenue, just outside the Caguas nightclub. There were approximately a hundred people
outside the Caguas Club on North Avenue, and several different fights occurring on the

street.

11. As observed by the Appellate court in reversing the denial of plaintiff's post-

conviction petition:

“We believe that there were weaknesses in the
State’s case at trial, . . . . The State had only onc
eyewitness, [Juan] Michel, [a.k.a. Juan Delgado] who
affirmatively stated he saw Juan and Henry beating the
victim. Michel was a member of the rival gang that the

 

 
 

 

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victim belonged to, and he did not discuss the incident with
the police until the next day. He testified he had discussed
the murder with fellow gang members before he spoke to
the police and identified defendants as the perpetrators.

In an affidavit attached io defendant’s post-
conviction petition, Michel identified the board the police
retnieved as the board he saw Juan use on the victim. Post-
trial testing of the that board did not reveal any trace of
blood or hair, despite the fact that witnesses testified that
the victim was so bloody and disfigured by the beating they
could not recognize him.

[A second witness, Edwin] Gomez said he saw
someone who ‘looked like’ Juan hit the victim.” People v
Henry and Juan Johnson, 1-00-3795 and 1-00-3818
(cons.), p. 25.

12, Plaintiff Juan Johnson was arrested the next day by Defendant Guevara. As a
direct and proximate result of the arrest, plaintiff was placed in a Chicago Police

Department line-up and “identified” by Juan Michel and Edwin Gomez.

13. Juan Johnson was one of four defendants tried for the murder of Ricardo

Fernandez on September 9, 1989. Ultimately, all four defendants were acquitted.

14. Following the appellate court’s reversal of the denial of Juan Johnson’s post-
conviction petition, /d., plaintiff was put on trial again for murder and acquitted by a jury

in February, 2004.

15. At the second trial, Salvador Ortiz, a Latin Eagle gang member testified to the
fight in ihe Caguas Club that spilled-out into the street. The next morning, Defendant
Guevara came to Salvador Ortiz’s house. Edwin Gomez and Samuel Perez also came to
Mr. Ortiz’s house. Later that afternoon, Mr. Ortiz met with about 10 to 15 other
Caucasian Hispanics who were Latin Eagle street gang members at a parking lot on the
comer of Kenneth and Armitage Strects in Chicago. Also present was Juan Michel (Juan
Delgado) and Edwin Gomez. The Latin Eagle street gang members hang-around for an
hour to an hour and a half, discussing what they had heard about the incident the night

before. Samuel Perez and Defendant Guevara also arrived at parking lot. Defendant

Guevara laid out photos on a car hood.

 
 

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16. Later that day Salvador Ortiz was taken to a police station. Mr. Ortiz
remained at the police station from 4:00 p.m. to 1:00 a.m. At the police station Salvador
Ortiz was placed in room with Juan Michael, Edwin Gomez, Armando Mendez, and
Guillermo Vasquez. Defendant Guevara laid out photos on a table that Defendant
Ciuevara had earlier shown Salvador Ortiz at the parking lot. Defendant Guevara then
told Mr. Ortiz that there was going to be a line-up and to identify Plaintiff Juan Johnson
as the person who beat the deceased with a board. Prior to that Mr. Ortiz never told
Defendant Guevara that he had seen the fight involving the deceased, and in fact had not
seen the fight involving the deceased. Salvador Ortiz then falsely identified Plaintiff Juan
Johnson at the lme-up as the person who beat Mr. Ortiz’s friend with a four by four

board.

17. Samuel Perez, a Spanish Cobra, testified at the second trial as to the fight in
the Caguas Club that spilled-out into the street. The next afternoon Samuel went with
several olher gang members to the vicinity of Kostner and Armitage in Chicago, a hang-
out for Latin Eagle gang members. Defendant Guevara arrived and put Samuel Perez in

Defendant Guevara's car. Samuel Perez testified:

“TGuevara] told me that he knows that the Cobras
killed that Eagle. Which Cobra, he didn’t care, but he
preferred that it was this Cobra and he showed me a picture
out of an album.

Q. And did you recognize who this Cobra was?
A. Yes,

Q. And who was that Cobra?

A. It was Juan Johnson.

Q. Now, Mr. [Perez], what did you take that to
mean?

A. . . . I took it as a threat. I took it to it was
either going to be — | was going to get hooked up for that
murder or Juan Johnson could get hooked up for that
murder.

Q. Why did you think that? . . .

 

 
 

 

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A. Well, [Guevara] had a reputation on the street of
hooking people up.” (People v. Juan Johnson H, Tr.
2/20/04, pp. 65-66.)

18. Defendant Guevara then took Samuel Perez to the police station and put
him in a room with Latin Eagle gang mernbers Juan Michel, Edwin Gomez and Sal Ortiz.
On a table in the room were photographs of the defendants who were soon charged,
including of Juan Johnson. Samuel Perez told “the Latin Eagles that these were the guys

that were there. These are the guys you want.” Jd. at 75.

19. As a proximate and direct result of Defendant Guevara framing plaintiff by
arresting plaintiff, making false claims and withholding exculpatory evidence, Plaintiff

Juan Johnson was wrongfully convicted of murder, a crime that he did not commit.

20. Defendant Guevara has a history of fabricated falsc identifications and then
suppressing evidence of such misconduct. Plaintiff has now learned of at least 12
Chicago Police Department of Professional Standards complaints against Defendant, with
several suspensions against Defendant Guevara. There have also been repeated specific
complaints im other cases and to the media of Detective Guevara fabricating

identifications and concealing the wrongfully tainted identification procedures.

21. Before being acquitted last year, as a result of defendants’ misconduct, Juan
Johnson suffered greatly, including, being imprisoned in Stateville, having his child

grow-up without him, and having his wife leave him while plaintiff was imprisoned.

22, Without the tainted evidence, quite simply, there was not enough evidence to
convict, Other than the false identification fostered by Guevara, there is no confession by
defendant, and the physical evidence points, the board “murder weapon” is suggestive of
innocence rather than guilt. Additionally, several neighbors of the crime scene,
bystanders, friend of the victim, and co-defendant, all testified in subsequent proceedings
as to plaintiff’s innocence — and corroborative of plaintiff's claim that he was wrongfully

framed by Defendant Guevara.
 

 

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Count I — 42 U.S.C, § 1983
Due Process

23. Each of the paragraphs of this complaint is incorporated as if fully restated

herein.

24, As described more fully above, Defendant Guevara, while acting under color
of law and within the scope of his employment as police officers, deprived plaintiff of his

constitutional right to a fair trial.

25. Defendant Guevara deliberately withheld exculpatory evidence, as well as
provided false evidence, thereby misleading and misdirecting the state criminal
prosecution of the plaintiff. To wit, Defendant Guevara provided false allegations that
were the basis of the criminal complaint, withheld exculpatory evidence throughout the
proceedings, and fabricated inculpatory evidence that was the basis of the criminal
prosecution. Absent this misconduct, the prosecution of plaintiff would not have been

pursued.

26. Specifically, Defendant Guevara withheld information about the fact that he
directed witnesses to pick plaintiff out of a lineup and otherwise tainted the witness
identification procedure. Defendant Guevara further concealed these exculpatory facts
from plaintiff and the criminal court, in violation of Brady. Moreover, plaintiff did not
know that Defendant Guevara had directed witnesses to pick plaintiff out of a lineup and

otherwise tainted the witness identification procedure.

27. Moreover, Defendant Guevara’s suppressing of evidence of his custom in
other cases of improperly suggesting to witnesses who to pick out of a limeup, and in
other cases otherwise tainting witness identification procedures, also implicated

plaintiff's due process rights as violating Brady

28. The misconduct of Defendant Guevara also resulted in the criminal conviction
of plaintiff, thereby denying plaintiff his Constitutional right to a fair trial as is secured to
plaintiff in the Due Process Clause of the Fourteenth Amendment of the United States

Constitution.

29, The misconduct of Defendant Guevara in suppressing the evidence that he had

 
 

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encouraged witnesses to pick plaimtiff out of a lineup and otherwise tainted the witness
identification procedure further prejudiced plaintiff by continuing to deny plaintiff relief
in post-conviction proceedings.

30. As a result of the violation of his constitutional right to a fair trial, plaintiff

suffered injuries, including but not limited to emotional distress.

31. The misconduct described in this Count was objectively unreasonable and was

undertaken imtentionally with willful indifference to plaintiff's constitutional nghts.

32. The misconduct in this count was undertaken pursuant to the policy and

practice of the Chicago Police Department in the manner more fully described herein.
Count IT — 42 U.S.C, § 1983
False Arrest

33. Rach of the paragraphs of this complaint is incorporated as if fully restated

herein.

34. Plaintiff was improperly seized without legitimate probable cause, to wit,
plaintiff was denied liberty without justification in violation of the United States
Constitution,

35. As a result of he above-described wrongful infringement of plaintiff's rights,
plaintiff has suffered damages, including but not limited to substantial mental distress and
anguish.

36. The misconduct described in this count was undertaken with malice,
willfulness, and reckless indifference to the rights of others.

Count ITT - § 1983
Monell Claim against City of Chicago

37. Each of the paragraphs of this complaint is incorporated as if fully restated

herein.

38. All of the constitutional violations described in this complaint were

undertaken pursuant to the policy and practice of the City of Chicago, in the manner

 
 

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described more fully above in prior sections of this complaint, m that:

a.

As a matter of both policy and practice, the Chicago Police Department
directly encouraged, and was thereby the moving force behind, the very
type of constitutional violation at issue here by failing to adequately train,
supervise and control its officers, such that its failure to do so manifests

deliberate indifference.

As a matter of both policy and practice, the department facilitates the very
type of constitutional violation at issue here by failing to adequately
punish and discipline prior instances of misconduct, including “repeater”
offenders who exhibits patterns of abuse and misconduct, thereby leading
Chicago Police Department officers to belicve that their actions will never
be scrutinized and, in that way, directly encouraging future abuses such as

those affecting plaintiff.

Generally, as a matter of widespread practice so prevalent as to
compromise municipal policy, officers of the department violated the
constitutional nghts of citizens in a manner similar to that alleged by
plaintiff on a frequent basis, al] with the knowledge and acquiescence of
supervisory and command personnel, yet the department makes findings

of wrongdoing in a disproportionately small number of cases.

Generally, as a matter of widespread practice so prevalent as to
compromise municipal policy, the department refuses to refer police
officers for prosecution even when they commit crimes such that officers
are encouraged to believe that they enjoy de facto immunity from criminal
prosecution.

Plaintiff’s injuries were also caused by the policies and practices on the

part of the City of Chicago of suppressing exculpatory Brady materials

and improperly refusing to create exculpatory Brady materials.

Plaintiffs injuries were also caused by the policies and practices of the

systematic fabrication of evidence, including false identifications, and the

 

 
 

 

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preparation of false police reports, all designed to encourage prosecutions

and secure convictions regardless of actual guilt or innocence.

g. Municipal policy makers and department supervisors are aware of, and
condone and facilitate by their inaction, a code of silence in the Chicago
Police Department, by which officers fail to report and otherwise lie about
misconduct committed by other officers, such as the misconduct at issue in
this case.

h. The City of Chicago failed to timely act to remedy the patterns of abuse
described in the preceding sub-paragraphs, despite the actual knowledge
of the sare, thereby ratifying the unlawful practices and causing the types

of injuries described herein.

39. The policies and practices described in the foregoing paragraphs were
consciously approved at the highest policy making level for decisions involving the
Chicago Police Department, and were a proximate cause of the injurics suffered here by

plaintiff.
40. On the basis of the foregoing, the City of Chicago 1s lable to plaintiff for his
injuries.
Count IV - State Law Claim
Malicious Prosecution

41. Each of the paragraphs of this complaint is incorporated as if fully restated

hercin.

42. Plaintiff was improperly subjected to judicial proceedings for which there was
no probable cause. These judicial proceedings were instituted and continued maliciously,
resulting in injury, and the prosecution of defendant was finally terminated with a jury

not guilty verdict in a manner indicative of innocence.

43, Defendant Officer Guevara accused plaintiff of criminal activity knowing
(those accusations to be without probable cause, and made statements to prosecutors with

the intent of exerting influence to institute and continue judicial proceedings.
 

 

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44. Statements by Defendant Officer Guevara regarding plaintiff's alleged
culpability were made with knowledge that the statements were false and perjured. In so

doing, Defendant Guevara fabricated evidence and withheld exculpatory information.

45, The misconduct described in this count was undertaken with malice,

willfulness, and reckless disregard for the rights of defendant.
46. As a result of this misconduct, plaintiff has suffered, and continues to suffer,
injuries, including pain and suffering.
Count V — State Law Claim

Outrageous Infliction of Emotional Distress

47. Each of the paragraphs of this complaint is incorporated as if fully restated

herein.

48. The actions referred to above, were extreme and outrageous. Moreover, the
extreme and outrageous nature of Defendant Guevara’s actions further arose from his
abusing his position as police officer which gave defendants actual and apparent authority

over plaintiff and the power to effect plaintiff's interests.

49. Defendant Guevara, by his actions referred to above, thereby intended to
cause severe emotional distress or recklessly disregarded the probability of emotional

distress to plaintiff.

50. The misconduct described in this count was undertaken with malice,

willfulness, and reckless disregard for the rights of defendant.

21. Defendant’s outrageous conduct proximately caused plaintifi’s severe

emotional distress,
Count VI - State Law Claim
Respondent Superior

52. Each of the paragraphs of this complaint is incorporated as if restated fully

hercin.

53. In committing the acts alleged in the preceding paragraphs, Defendant

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Guevata was a member of, and agent of, the Chicago Police Department, acting at all

relevant times within the scope of his employment.
54. Defendant is liable as principal for all torts committed by its agent.
Count VII - State Law Claim
Indemnification

55. Each of the paragraphs of this complaint is incorporated as if restated fully

herein.

56. Illmois law, (745 TLCS 10/9-102), provides that public entities are directed to
pay any tort judgment for compensatory damages for which employees are lable within
the scope of their employment activities.

57. The defendant officer Guevara is and was an employee of the Chicago Police

Department, who acted within the scope of his employment in committing the

misconduct described herein.

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WHEREFORE, plaintiff, Juan Johnson, respectfully requests that this court enter
judgment in his favor and against defendants, Reynaldo Guevara, and the City of
Chicago, awarding compensatory damages, costs, and attorneys’ fees, along with punitive
damages against Defendant Reynaldo Guevara, in his individual capacity, as well as any

other relief for plaintiff that this court deems just and appropriate.
Jury Demand

Plaintiff, Juan Johnson, demands a trial by jury pursuant to Federal Rule of Civil

Procedure 38(b) on all issues so triable.

RESPECTFULLY SUBMITTED: >"

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